                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                               Plaintiffs,

v.                                                                 No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                               Defendant.



CALLA WRIGHT, et al.,

                               Plaintiffs,

v.                                                                 No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                               Defendants.

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      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ BILL OF TAXABLE COSTS
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       Pursuant to Local Rule 54.1, Plaintiffs, by and through counsel, respectfully submit this

memorandum in support of their Bill of Taxable Costs. With respect to each of the expense/cost

entries described in the Declaration of Allison J. Riggs in Support of Plaintiffs’ Bill of Taxable

Costs, Plaintiffs further explain:




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 a. Entry 1 is the filing fee incurred for filing the complaint in Wright et al., v. State

    of North Carolina, et al., Case No. 5:13-cv-607 (E.D.N.C.) on August 22, 2013.

         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(1) and was necessary to initiate litigation

            challenging the constitutionality of Senate Bill 325.

 b. Entry 2 is the appeal fee, minus the amount award via the bill for appellate taxable

    costs, incurred for the filing of the notice of appeal from the District Court’s

    12(b)(6) dismissal of Wright et al., v. State of North Carolina, et al., Case No.

    5:13-cv-607.

         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(1) and was necessary to initiate the appeal to the

            Fourth Circuit to successfully reverse the entry of a motion to dismiss.

 c. Entry 3 is the filing fee incurred for filing the complaint in Raleigh Wake Citizens

    Ass’n et al., v. Wake County Bd. of Elections, et al., (“RWCA”) Case No. 5:15-cv-

    607 (E.D.N.C.) on April 7, 2015.

         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(1) and was necessary to initiate litigation

            challenging the constitutionality of Senate Bill 181.

 d. Entries 4 and 5 are the fees incurred from having publicly available audio files

    transcribed and a single copy of each of those transcripts obtained for each of the

    committee and floor hearings on the two bills challenged in this litigation. These

    were necessary for the development of the case, preparation of witnesses, and

    were used as trial exhibits.



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         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(4) and/or § 1920(2). During the discovery phase

            of the trial, the General Assembly had only audio recordings of the debates

            on Senate Bills 181 and 325 in committee meetings and on the House and

            Senate Floors. Transcripts were necessary to develop the theory of the

            case; to use to develop proposed findings of fact; to use to prepare

            witnesses; and to use as trial exhibits. A few days before the beginning of

            trial, the General Assembly produced transcriptions of most of the relevant

            hearings and meetings, but it would have been too late for use in

            prosecuting the case. As such, transcription of the audio files and a copy

            of the transcripts were necessary for use in the case.

 e. Entry 6 is the fee incurred for obtaining transcripts of the three-day trial held in

    the above-captioned consolidated matters. The transcript was obtained from

    David J. Collier, court reporter for the U.S. District Court for the Eastern District

    of North Carolina. Only an electronic version of the transcript was ordered, and

    the order was not expedited. The procurement of the transcript was necessary for

    the appeal.

         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(2) and obtaining the transcript was necessary for

            the appeal.

 f. Entry 7 is the appeal fee, minus the amount award via the bill for appellate taxable

    costs, incurred for the filing of the notice of appeal from the District Court’s entry




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    of judgment against plaintiffs in RWCA et al., v. Wake County Bd. of Elections,

    Case No. 5:15-cv-156.

         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(1) and was necessary to initiate the appeal to the

            Fourth Circuit to successfully reverse the entry of judgment against

            Plaintiffs.

 g. Entry 8 is the appeal fee, minus the amount award via the bill for appellate taxable

    costs, incurred for the filing of the notice of appeal from the District Court’s entry

    of judgment against plaintiffs in Wright et al., v. State of North Carolina, et al.,

    Case No. 5:13-cv-607.

         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(1) and was necessary to initiate the appeal to the

            Fourth Circuit to successfully reverse the entry of judgment against

            Plaintiffs.

 h. Entry 9 is the fee incurred for obtaining transcripts of the remedy hearing held in

    the above-captioned consolidated matters. The transcript was obtained from

    Huseby, whose court reporter was serving as court reporter for the U.S. District

    Court for the Eastern District of North Carolina that day. Only an electronic

    version of the transcript was ordered, and the order was not expedited.

         i. The grounds and authorities for this cost are as follows: the cost is allowed

            under 28 U.S.C. § 1920(2) and obtaining the transcript was necessary for

            for analysis of and briefing on remedy. Alternatively, because the Huseby

            reporter was not the official court reporter of the U.S. District Court for



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               the Eastern District of North Carolina, this cost may be otherwise

               authorized under 28 U.S.C. § 1920(4).

   i. Entry 10 is order granting appellate taxable costs and add those costs to the

       mandate in RWCA, et al., v. Wake County Bd. of Elections, Case No. 16-1270 (L)

       (4th Cir.).

Respectfully submitted this 23rd day of November, 2016.

                                             /s/ Allison J. Riggs______________
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                                  CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing PLAINTIFFS’

MEMORANDUM IN SUPPORT OF PLAINTIFFS’ BILL OF TAXABLE COSTS with the

Clerk of Court using the CM/ECF system, which will send electronic notification of such filing

to all counsel and parties of record.

       This the 23rd day of November, 2016.

                                                     /s/ Allison J. Riggs________________
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